     Case 2:21-cv-07310-CAS-KS Document 1 Filed 09/13/21 Page 1 of 11 Page ID #:1



 1   TRACY L. WILKISON
     Acting United States Attorney
 2   SCOTT M. GARRINGER
     Assistant United States Attorney
 3   Chief, Criminal Division
     JONATHAN GALATZAN
 4   Assistant United States Attorney
     Chief, Asset Forfeiture Section
 5   VICTOR A. RODGERS (Cal. Bar No. 101281)
     MAXWELL COLL (Cal. Bar No. 312651)
 6   Assistant United States Attorney
     Asset Forfeiture/General Crimes Sections
 7        Federal Courthouse, 14th Floor
          312 North Spring Street
 8        Los Angeles, California 90012
          Telephone: (213) 894-2569/1785
 9        Facsimile: (213) 894-0142/0141
          E-mail: Victor.Rodgers@usdoj.gov
10                Maxwell.Coll@usdoj.gov
11   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
12
                               UNITED STATES DISTRICT COURT
13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                     WESTERN DIVISION
15
     UNITED STATES OF AMERICA,                Case No. 2:21-cv-07310
16
                 Plaintiff,                   COMPLAINT FOR FORFEITURE
17
                      v.                      18 U.S.C. § 981(a)(1)(A) & (C)
18
     $256,276.00 IN U.S. CURRENCY AND         [FBI]
19   APPROXIMATELY 26 MISCELLANEOUS
     COINS,
20
                 Defendants.
21

22

23           Plaintiff United States of America brings this claim against
24   defendants $256,276.00 in U.S. Currency and Approximately 26
25   Miscellaneous Coins (collectively, “the defendants”), and alleges as
26   follows:
27   / / /
28
     Case 2:21-cv-07310-CAS-KS Document 1 Filed 09/13/21 Page 2 of 11 Page ID #:2



 1                              JURISDICTION AND VENUE

 2        1.    The government brings this in rem forfeiture action

 3   pursuant to 18 U.S.C. § 981(a)(1)(A) & (C).

 4        2.    This Court has jurisdiction over the matter under 28 U.S.C.

 5   §§ 1345 and 1355.

 6        3.    Venue lies in this district pursuant to 28 U.S.C. § 1395.

 7                               PERSONS AND ENTITIES

 8        4.    The plaintiff in this action is the United States of

 9   America.

10        5.    The defendants in this action are $256,276.00 in U.S.

11   Currency and Approximately 26 Miscellaneous Coins seized by law

12   enforcement officers on or about March 22, 2021, at U.S. Private

13   Vaults at 9182 Olympic Boulevard in Beverly Hills, California.

14        6.    The defendant currency is currently in the custody of the

15   United States Marshals Service in this District while the 26

16   Miscellaneous Coins are currently in the custody of the FBI, where

17   those items will remain subject to this Court’s jurisdiction during

18   the pendency of this action.

19        7.    The interests of Stanley Hudson may be adversely affected

20   by these proceedings.

21                               BASIS FOR FORFEITURE

22   Background Regarding U.S. Private Faults

23        8.    U.S. Private Vaults (“USPV”) is a company that was in the

24   business of renting safe deposit boxes to customers.           By providing

25   and promoting total anonymity, USPV catered to and attracted

26   criminals who sought to keep their identities and the source of their

27   cash beyond the reach of banks, regulators, the IRS, and law

28   enforcement.

                                             2
     Case 2:21-cv-07310-CAS-KS Document 1 Filed 09/13/21 Page 3 of 11 Page ID #:3



 1           9.    The company’s primary pitch to customers was anonymity, as

 2   reflected in its website that provided “Complete Privacy; Biometric

 3   Identification; No ID Required.”       USPV also boasted in its website

 4   “Our business is one of the very few where we don’t even want to know

 5   your name.       For your privacy and the security of your assets in our

 6   vault, the less we know the better.”        This advertisement appealed to

 7   persons engaged in activities which they wished to hide from legal

 8   authorities and law-abiding financial institutions.

 9           10.   USPV also posted on its website “Four Reasons to Store Your

10   Gold At USPV,” information designed to market the company’s services,

11   which led to many involved in criminal activities to rent boxes from

12   USPV.    The posting asserted:

13           Banks require clients to provide their social security

14           number and a photo identification as a condition for

15           renting a safe deposit box.    Your information is then filed

16           in the bank's central data system.     This information can be

17           easily accessed by government agencies (such as the IRS) or

18           attorneys armed with court orders. If no one is aware you

19           have a safe deposit box, the contents (your gold) are much

20           safer.

21   By advocating a service which circumvented the IRS and persons “armed

22   with court orders,” customers engaged in illegal activity were

23   attracted to and ultimately stored and secreted their criminal

24   proceeds (which the government has a legitimate interest in) at USPV,

25   instead of at banks or law-abiding financial institutions where their

26   illegal activities would more likely be uncovered.

27           11.   In the same post, “Four Reasons to Store Your Gold At

28   USPV”, USPV stated:

                                             3
     Case 2:21-cv-07310-CAS-KS Document 1 Filed 09/13/21 Page 4 of 11 Page ID #:4



 1        As government chartered institutions, banks are now

 2        required to file “suspicious activity reports.” . . . U.S.

 3        Private Vaults is not subject to federal banking laws and

 4        would only cooperate with the government under court order.

 5   By marketing services in this fashion, some persons who ultimately

 6   became USPV customers, were attracted by the advertisements because

 7   USPV’s safe deposit box storage facilities offered them a much safer

 8   place to store their illegal criminal proceeds, unlike law-abiding

 9   banks, so as to eliminate their fear of apprehension by law

10   enforcement and in promotion of their illegal activities.

11        12.   Further, and in order to shield customers from having law

12   enforcement uncover their illegal activity, USPV encouraged its

13   customers pay their box rental fees in cash.         In addition, USPV

14   charged customers significantly higher prices than those charged by

15   major banks, because USPV offered something which legitimate banks do

16   not: anonymity, a place to store illegally obtained cash, tips and

17   assistance in avoiding law enforcement and a willingness to look the

18   other way with regard to all types of criminal conduct.           And one of

19   USPV’s owners has gone so far as to brag about bringing to USPV

20   individuals selling marijuana and other drugs illegally, based on the

21   owner’s connections, by marketing USPV as a safe place for those

22   criminal actors and potential USPV customers to store their ill-

23   gotten gains.

24        13.   Not surprisingly, because USPV’s business model is designed

25   to appeal and cater to criminals, USPV has repeatedly been used by

26   criminals to store criminal proceeds.        Over the years, the contents

27   of specific boxes at USPV have been forfeited because they are the

28   proceeds of criminal activity.       For example, on July 1, 2019,

                                             4
     Case 2:21-cv-07310-CAS-KS Document 1 Filed 09/13/21 Page 5 of 11 Page ID #:5



 1   officers seized $215,653 from Michael Beaver, as he was leaving USPV,

 2   and then seized an additional $1,448,700 from his USPV boxes.

 3   Records from the Employment Development Department (the “EDD”), which

 4   is the California agency to whom employers must report wages earned

 5   by their employees, showed Beaver had no legitimate employment

 6   income.    In addition, Beaver’s phones revealed evidence of drug

 7   trafficking activity, and the in excess of $1.6 million funds were

 8   forfeited as proceeds of unlawful activity.

 9        14.    On April 21, 2019, a victim was kidnapped in San Diego and

10   brutally tortured in a warehouse, where the victim was hit with

11   sticks and baseball bats; stripped naked; hit with a hammer on the

12   victim’s toes; and set on fire.       Allan Newman was arrested and

13   charged with kidnapping for ransom, attempted murder, torture and

14   aggregated mayhem relative to the beating.         The victim had been

15   employed by a group of people who were engaged in distributing

16   counterfeit marijuana vaping cartridges, and the group believed the

17   victim had stolen a suitcase full of cash, which a vape cartridge

18   customer had left at the warehouse.         A portion of the funds had been

19   placed by the victim’s ex-wife in a safe deposit box at USPV, which

20   the ex-wife retrieved and used to pay the victim’s ransom.

21        15.    On March 6, 2018, officers seized $101,080 and 26 gold bars

22   from Vincent Ramos’ USPV box.       Ramos was the CEO of a company that

23   facilitated the importation, exportation and distribution,

24   internationally, of wholesale quantities of cocaine, heroin and

25   methamphetamine.     The currency and gold bars were forfeited, and

26   Ramos was indicted and pleaded guilty to Racketeering and Drug

27   Trafficking, in the Southern District of California.           See United

28   States v. Ramos, Case No. 18cr1404-WQH.

                                             5
     Case 2:21-cv-07310-CAS-KS Document 1 Filed 09/13/21 Page 6 of 11 Page ID #:6



 1           16.   In September 2016, officers seized $592,450 and $435,190,

 2   respectively, from two USPV boxes of Mikhail Malykhin, an individual

 3   who was the leader of an identity theft/computer intrusion fraud

 4   ring.    He and others were involved in a complex scheme involving

 5   altering hacked debit cards from a health insurance provider and

 6   altering the codes to cash out the debit cards.          Malykhin was

 7   indicted and pleaded guilty to committing access device fraud, and

 8   the over $1,000,000 in funds seized from Malykhin’s boxes were

 9   forfeited as proceeds of the fraud and were used to pay restitution

10   to victims of Malykhin’s fraud.       See United States v. Malykhin,

11   Central District of California Case No. 16cr0688-DMG.
12           17.   In November 2015, officers seized $1,543,400 from the USPV
13   box of Gerald Lebowitz, which he stated had been brought into the
14   United States illegally to avoid taxes.        However, further
15   investigation revealed that Lebowitz was part of a conspiracy to
16   distribute methaqualone, a controlled substance, and officers seized
17   over 45 kilograms of methaqualone powder and 12 canisters of the
18   chemical o-Taluidine, both chemical precursors, during the course of
19   the investigation.     The funds were forfeited as criminal proceeds.

20   See United States of America v. Lebowitz, Central District of

21   California Case No. 17cr-0053-CAS.

22           18.   On October 28, 2015, officers seized $500,000, 22 gold bars

23   and 15 gold coins from the USPV box of Cyrus Irani, who was the

24   master bookmaker and head of an illegal gambling organization that

25   operated both internet and traditional bookmaking operations, and

26   engaged in money laundering.       He pleaded guilty to Enterprise

27   Corruption, and 14 others in his organization were convicted of

28   various gambling, money laundering and enterprise corruption charges.

                                             6
     Case 2:21-cv-07310-CAS-KS Document 1 Filed 09/13/21 Page 7 of 11 Page ID #:7



 1   The assets found in Irani’s box were forfeited as criminal proceeds.

 2   The Property At Issue In This Case

 3           19.   The assets seized from the box at issue in this case are

 4   an example of persons storing assets from their illegal activity at

 5   USPV, as a result of USPV’s advertisements, marketing efforts and

 6   other transactions and activities over the web, on-line and in the

 7   mails, designed to induce persons to rent boxes at USPV to hide their

 8   property.     The assets seized represent the proceeds of criminal

 9   activity and were involved in money laundering activity, which

10   therefore renders them subject to forfeiture.

11           20.   Stanley Hudson was convicted on charges of federal bank

12   fraud, aggravated identity theft and aiding and abetting.           See United

13   States of America v. Thomas Cochee and Stanley Hudson, Case No. 08-
14   cr-715(A)-PSG.     As part of the conviction, Stanley Hudson was
15   sentenced to 94 months (i.e., almost 8 years) imprisonment, five
16   years of supervised release, and ordered to pay $872,125.52 to the
17   victims he defrauded.     But Stanley Hudson has failed to voluntarily
18   pay anywhere near the sums that are due.         Instead, Stanley Hudson has
19   voluntarily paid only about $18,000.00 due on the restitution

20   judgment.

21           21.   In order to compel Stanley Hudson to pay his restitution

22   obligation, the government earlier this year submitted a demand for

23   real property sale proceeds from real estate Stanley Hudson was

24   selling without intending to use those proceeds to pay restitution.

25   As a result, the escrow company provided approximately $228,000.00 to

26   the government, which applied those funds to Stanley Hudson’s

27   restitution debt and thereby compelled Stanley Hudson to use those

28   / / /

                                             7
     Case 2:21-cv-07310-CAS-KS Document 1 Filed 09/13/21 Page 8 of 11 Page ID #:8



 1   funds to satisfy at least a portion of the losses suffered by the

 2   victims he has defrauded.

 3        22.   Still, over $625,000.00 remains due and owing in

 4   restitution to Stanley Hudson’s victims.         Instead of satisfying his

 5   victim loss obligations, Stanley Hudson has instead chosen to hide

 6   the defendants, which include the defendants (i.e., $256,276.00 in

 7   U.S. Currency and the coins), in his box at USPV (i.e., box number

 8   1401).

 9        23.   Stanley Hudson also appears to be hiding his wealth from

10   taxing authorities.     Except for one year during the five years

11   between 2014 and 2018, Stanley Hudson reported negative adjusted

12   gross income in the State of California as follows: 2014 (negative
13   $41,708); 2015 (negative $40,238); 2016 (negative $21,661); 2017
14   ($4,326); and 2018 (negative $12,290).
15        24.   When officers executed a federal search warrant at Stanley
16   Hudson’s residence on or about August 5, 2021, and spoke with Stanley
17   Hudson about his restitution debt, Stanley Hudson stated it was no
18   big deal that he had not paid his restitution debt.          In addition,
19   when officers asked Stanley Hudson about other valuable assets

20   (including about $400,000.00 in cryptocurrency) that were once

21   situated within his USPV box, Stanley Hudson provided conflicting

22   stories and false information concerning his sources of those

23   additional assets.     Stanley Hudson lacks sufficient legitimate

24   sources of income to support his acquisition and possession of the

25   defendants, and was using his box at USPV to facilitate his illegal

26   activities in shielding his assets from victims entitled to receive

27   assets in payment of their losses as reflected in Stanley Hudson’s

28   restitution judgment.

                                             8
     Case 2:21-cv-07310-CAS-KS Document 1 Filed 09/13/21 Page 9 of 11 Page ID #:9



 1                              FIRST CLAIM FOR RELIEF

 2           25.   Plaintiff incorporates the allegations of paragraphs 1-24

 3   above as though fully set forth herein.

 4           26.   Based on the above, plaintiff alleges that the defendants

 5   constitute or are derived from proceeds traceable to violations of 18

 6   U.S.C. §§ 1341 (wire fraud) and/or 1343 (mail fraud), each of which

 7   is a specified unlawful activity as defined in 18 U.S.C.

 8   §§ 1956(c)(7)(A) and 1961(1)(D).       The defendants are therefore

 9   subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C).

10                              SECOND CLAIM FOR RELIEF

11           27.   Plaintiff incorporates the allegations of paragraphs 1-24
12   above as though fully set forth herein.
13           28.   Based on the above, plaintiff alleges that the defendants
14   constitute property involved in multiple transactions or attempted
15   transactions in violation of 18 U.S.C. § 1956(a)(1)(A)(i) or
16   (a)(1)(B)(i), or property traceable to such property, with the
17   specified unlawful activity being a violation of 18 U.S.C. §§ 1341
18   (wire fraud) and/or 1343 (mail fraud).        The defendants are therefore
19   subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A).

20                              THIRD CLAIM FOR RELIEF

21           29.   Plaintiff incorporates the allegations of paragraphs 1-24

22   above as though fully set forth herein.

23           30.   Based on the above, plaintiff alleges that the defendants

24   constitute property involved in multiple transactions or attempted

25   transactions in violation of 18 U.S.C. § 1957(a), or property

26   traceable to such property, with the specified unlawful activity

27   being a violation of 18 U.S.C. §§ 1341 (wire fraud) and/or

28   / / /

                                             9
     Case 2:21-cv-07310-CAS-KS Document 1 Filed 09/13/21 Page 10 of 11 Page ID #:10



 1    1343 (mail fraud).     The defendants are therefore subject to

 2    forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A).

 3         WHEREFORE, plaintiff United States of America prays:

 4         (a)   that due process issue to enforce the forfeiture of the

 5    defendants;

 6         (b)   that due notice be given to all interested parties to

 7    appear and show cause why forfeiture should not be decreed;

 8         (c)   that this Court decree forfeiture of the defendant currency

 9    to the United States of America for disposition according to law; and

10         (d)   for such other and further relief as this Court may deem

11    just and proper, together with the costs and disbursements of this

12    action.

13    Dated: September 13, 2021          TRACY L. WILKISON
                                         Acting United States Attorney
14                                       SCOTT M. GARRANGER
                                         Assistant United states Attorney
15                                       Chief, Criminal Division

16
                                         _______/s/___________________
17                                       VICTOR A. RODGERS
                                         MAXWELL COLL
18                                       Assistant United States Attorneys
                                         Asset Forfeiture/General Crimes
19                                       Sections

20                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
21

22

23

24

25

26

27

28

                                             10
     Case 2:21-cv-07310-CAS-KS Document 1 Filed 09/13/21 Page 11 of 11 Page ID #:11



 1                                     VERIFICATION

 2         I, Lynne Zelhart, hereby declare that:

 3         1.    I am a Special Agent with the Federal Bureau of

 4    Investigation.

 5         2.    I have read the above Complaint for Forfeiture and know the

 6    contents thereof.

 7         3.    The information contained in the Complaint is either known

 8    to me personally, was furnished to me by official government sources,

 9    or was obtained pursuant to subpoena.        I am informed and believe that

10    the allegations set out in the Complaint are true.

11         I declare under penalty of perjury under the laws of the United

12    States of America that the foregoing is true and correct.

13         Executed on September 10, 2021 at Los Angeles, California.

14

15                                            /s/ Lynne Zelhart
                                                  Lynne Zelhart
16

17

18

19

20

21

22

23

24

25

26

27

28

                                             11
